Case 3:21-cv-00805-K-BT Docknhént LAN by/o7/21 PSb 3 ASS Augen s

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF TEXAS

Joe Hunsinger

Plaintiff Pro-Se’ Case No: Vy
V. |
W Streets LLC. S-21CV08058-xK

Defendants

COMPLAINT

1.0 PARTIES
1.1 Joe Hunsinger is a an individual citizen of Texas and a resident of this

District.

1.2 Defendant W Streets LLC. is a Domestic corporation with its principal place
of business in the State of Texas with an operating address of 111 Hunters Glen
Dr., Wylie, Texas 75098. Dallas County.

1.3. Defendant can be served by their agent Jamie Leann Wooley at 111 Hunters
Glen Dr., Wylie, Texas 75098.

1.4 Jamie Wooley is a licensed real estate agent in the State of Texas and is the
CEO of W Streets LLC.

2.0 JURISDICTION AND VENUE
2.1 This court has personal specific jurisdiction pursuant to 28 USC Section 1331

and 47 USC Section 227.

2.2 Supplemental jurisdiction for Plaintiffs state law claims arise under 28 USC
Section 1391(b)(2).

 
 

Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 2of23 PagelD 6

2.3. This Court has personal specific jurisdiction over Defendant because
defendant made calls to Plaintiff in this District and Defendant conducts business
in the State of Texas.

3.0 PRELIMINARY STATEMENT

3.1 This is an action for damages brought by an individual consumer for
violations of the TCPA, a federal statute enacted in response to widespread public
outrage about the proliferation of intrusive and nuisance telemarketing practices.

3.2 Senator Hollings, the TCPA’s sponsor, described these call as “the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at
night; they force the sick and elderly out of be; they hound us until we want to rip
the telephone out of the wall.”

3.3. According to findings by the FCC, the agency congress vested with authority
to issue regulations implementing the TCPA, such calls are prohibited because, as
Congress found, automated or prerecorded telephone calls are a greater nuisance
and invasion of privacy than live solicitation calls.

3.4 The national DNC registry allows consumers to register their telephone
numbers and thereby indicate their desire not to receive telephone solicitations at
those numbers. Plaintiff hereby requests a copy of Defendants DNC Policy.

3.5 The TCPA regulations define “telemarketing” as “the initiation of a telephone
call or message for the purpose of encouraging the purchase or rental of, or
investment in, property, goods, or services.”

3.6 Telemarketing occurs when the context of a call indicates that it was
initiated and transmitted to a person for the purpose of promoting property,
goods, or services.

 
Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 3of23 PagelD 7

3.7. Neither the TCPA nor its implementing regulations require an explicit
mention of a good, product, or service - where the implication of an improper
purpose is “clear from the context.”

3.8 In other words, “offers that are part of an overall marketing campaign to sell
property, goods, or services constitute” telemarketing under the TCPA.

3.9 If a call is not deemed telemarketing, a Defendant must nevertheless
demonstrate that it obtained the Plaintiffs prior express consent.

3.10 The FCC has issued rulings and clarified that consumers are entitled to the
same consent-based protections for text messages.

3.11 “Unsolicited telemarketing phone calls or text messages, by their nature,
invade the privacy and disturb the solitude of their recipients.”

3.12 Plaintiff has been harmed by Defendants’ acts because his privacy has been
violated. Plaintiff was subject to annoying and harassing telephone calls (texts)
that constitute a nuisance.

3.13 Telemarketers must obey the prohibitions in the TCPA.

3.14 Telemarketing is defined as “a plan, program, or campaign which is
conducted to induce the purchase of goods or services or charitable contribution
by use of one or more telephones and which involves more than on interstate

telephone call.

3.15 Plaintiff establishes injury in fact, if he or she suffered “an invasion of a
legally protected interest” that is “concrete and particularized” and “actual or
imminent, not conjectural or hypothetical.”
 

Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 4of23 PagelD 8

3.16 Plaintiff has the precise harm and infringe the same privacy interests
Congress sought to protect in enacting the TCPA.

3.17 Plaintiffs “express consent” is not an element of Plaintiffs prima facie case,
but is an affirmative defense for which the Defendant bears the burden of proof.

3.18 One single unsolicited marketing text or call is all it takes for a Plaintiff to
have standing and bring suit against a violator of the TCPA.

3.19 The TCPA does not bar all business-related text messaging, but instead,
focuses, in part, on cellular calls and text messages that are for the purpose of
soliciting new or additional business.

3.20 Defendants actions are a pattern and practice over time.

3.21 Defendants, in its alleged violation, was aware of the conduct and allowed it
to continue.

3.22 The impersonal and generic nature of Defendants text message(s),
demonstrate that Defendant utilized an ATDS in transmitting the message.

3.23 Text message advertisements and the use of a short code, support an
inference that the text messages use ATDS.

3.24 Plaintiff has alleged facts sufficient to infer text messages were sent using
ATDS - use of a short code and volume of mass messaging alleged would be
impractical without use of an ATDS.

3.25 Defendant used a “long code” to transmit a text to the Plaintiff. A long code
is a standard 10-digit phone number that enabled Defendant to send SMS text
messages en masse, while deceiving recipients into believing that the message
was personalized. Defendant can copy and past and send hundreds of characters
out with a few clicks.
 

Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page5of23 PagelD9

3.26 Long codes work as follows: Private companies known as SMS gateway
providers have contractual arrangements with mobile carriers to transmit two-way
SMS traffic. These SMS gateway providers send and receive SMS traffic to an from
the mobile phone networks SMS centers which are responsible for relaying those
messages to the intended mobile phone. This allows for the transmission of a
large number of SMS messages to and from a long code.

3.27 Specifically, upon information and belief, Defendant utilized a combination
of hardware and software systems to send the text messages at issue in this case.
The systems utilized by Defendant have the capacity of store telephone numbers
and to dial such number from a list.

3.28 Defendants unsolicited calls/text message(s) caused Plaintiff actual harm,
including invasion of his privacy, aggravation, annoyance, intrusion on seclusion,
trespass, and conversion. Defendants text messages also inconvenienced Plaintiff
and caused disruption of his daily life.

3.29 Unwanted “Robocalls” are the number one complaint in America today.
Americans received over xxx billion robocalls just last month.

3.30 Plaintiff estimates he has received tens of thousands of unauthorized and
unwanted text messages in his lifetime from telemarketers. Some have been
from repeat violators and some have been from single call/text violators. The
Bureau of Labor Statistics tells us there are 134,800 telemarketers in the USA. If
this information is correct American consumers could quite possibly receive
369.31 calls per day and we have to tell the telemarketers is to place us on their
do not call list and we won’t hear from them in another 12 months, and then
process begins all over again? Plaintiff does not want to have his phone ring or
text 369.31 times a day from telemarketers. Plaintiff does not even want one
telemarketer to call him. There is a reason they say we as a nation may disagree
on many issues, but when it comes to unwanted telemarketing (Robocalls/texts)
we all agree that we do not like them.
Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 6of 23 PagelD 10

3.31 The contempt from Senator Hollings was he even wanted to do away with all
telemarketers, period. Plaintiffs pleading as mentioned above are clear and give
an insight on where Plaintiff set of mind. How he wants to left alone and
unbothered by telemarketing calls/texts.

3.32 The do not call provisions of the TCPA cover any plan, program or campaign
to sell goods or services through interstate phone calls. This includes calls by
telemarketers who solicit consumers, often on behalf of third party sellers.

3.33 The TCPA has a “safe harbor” for inadvertent mistakes. If a telemarketer
can show that, as part of its routine business practice, it meets all the
requirements of the safe harbor, it will not be subject to civil penalties or
sanctions for mistakenly calling a consumer who has asked for no more calls, or
for calling a person on the registry.

3.34 Plaintiffs complaint seeks money damages and injunctive relief from
Defendants illegal conduct.

3.35 This private cause of action is a straight forward provision designed to
achieve a straightforward result. Congress enacted the law to protect against
invasions of privacy that were harming people. The law empowers each person to
protect his own personal rights. Violations of the law are clear, as is the remedy.

3.36 The TCPA was enacted to prevent companies like Defendant from invading
Plaintiffs’ privacy as explained in paragraph 3.27 and 3.28.

3.37 Defendant(s) uses telemarketing to obtain new customers.

3.38 If Defendant(s) want to avoid a TCPA lawsuit, all they have to do is not break
the laws in the TCPA.
 

Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 7of23 PagelD 11

4.0 VICARIOUS LIABILITY

4.1 At all times relevant the the events giving rise to this lawsuit, Defendant
acted through its agents and is therefore liable for such actions pursuant of
vicarious liability principles.

4.2 Whenever it is stated herein that Defendant engaged in any act or omission,
the statement includes the acts or omissions by Defendant, its agents, its
employees, its representatives and others with actual or apparent authority to act
on behalf of and bind the Defendant.

5.0 QUESTIONS OF LAW

5.1 There are well defined and nearly identical questions of law and fact that
affect all parties. Such common questions of law and fact include, but are not
limited to, the following:

5.2 Whether Defendant(s) placed such telephone calls to the Plaintiff;

5.3. Whether Defendant(s) TCPA violations and conduct was knowing
and/or willful:

5.4 Whether Defendant(s) can meet their burden of showing that they
clearly and unmistakably obtained “prior express consent” to make
such calls/texts to the Plaintiff;

5.5 Whether Defendant(s) are liable for damages to the Plaintiff, as well as
the amount to of such damages;

5.6 Whether Defendant(s) identified themselves to the Plaintiff or if
their agents identified the entity on whose behalf the call/text was
being made;

5.7. Whether Defendant(s) sent Plaintiff their DNC policy when it was
requested;
5.8 Whether Defendant(s) uses telemarketing to obtain new customers;
Case 3:21-cv-00805-K-BT Document3 Filed 04/07/21 Page 8of 23 PagelD 12

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Whether Defendant(s) have a written DNC policy;

Whether Defendant(s) written DNC policy was shared with anyone
“on demand.”;

Whether Defendant(s) can prove they trained their employees about

the telemarketing rules and laws set in place;

Whether Defendant(s) have maintained a list of persons that they may
not contact;

Whether Defendant(s) have a process in place to prevent phone calls
to either numbers on the National Do Not Call List or numbers on the
telemarketers internal do not call list;

Whether Defendant(s) have a process in place to monitor calls to
prevent violations of the do not call list;

Whether Defendant(s) have maintained an errant list of all call that
violate the do not call regulations;

Whether Defendant(s) can prove they used TCPA compliant vendors;

Whether Plaintiff opted out of receiving calls/texts from Defendant.

Whether Defendant(s) honored Plaintiffs opt out/stop request.

Whether Defendant(s) had reason to know, or should have known that
its conduct would violate the statute.

Whether Plaintiff is entitled to injunctive relief;

Whether Defendant(s) should be enjoined from engaging in such
mentioned conduct in the future;

5.22 Common questions in this case have common answers.

 
Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page9of23 PagelD 13

6.0 FACTUAL ALLEGATIONS

AGAINST WALL STREETS LLC.
6.1 On Friday April 24, 2020 at 8:28 AM Plaintiff received one unauthorized and
unwanted telemarketing text message to his cell phone ending in 7677 from
Defendant or their agent form phone number / short code 88202. The sender of
the text message did not identify themselves or the entity who transmitted the
text.

6.2. On Friday May 5, 2020 at 6:00 PM Plaintiff received one unauthorized and
unwanted telemarketing text message to his cell phone ending in 7677 from
Defendant or their agent form phone number / short code 88202. The sender of
the text message did not identify themselves or the entity who transmitted the
text.

6.3. On Friday July 31, 2020 at 2:20 PM Plaintiff received one unauthorized and
unwanted telemarketing text message to his cell phone ending in 7677 from
Defendant or their agent form phone number / short code 88202. The sender of
the text message did not identify themselves or the entity who transmitted the
text.

6.4 On Monday August 3, 2020 at 5:32 PM Plaintiff received one unauthorized
and unwanted telemarketing text message to his cell phone ending in 7677 from
Defendant or their agent form phone number / short code 88202. The sender of
the text message did not identify themselves or the entity who transmitted the

text.

6.5 Plaintiff, wanting to investigate his claim against the telemarketer, followed
the telemarketers cues to find out their identity.

6.6 Plaintiff clicked on one of the tabs and a We Buy Hous(es) Texas
announcement showed up with a cartoon figure of a woman holding a house in

 
Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 10of 23 PagelD 14

her left hand. Plaintiff investigated and found Jamie Wooley to be the one behind
the same cartoon figure. Jamie Wooley is the owner of W Streets LLC.

6.7 Plaintiff did not have to contact Defendant to find out their legal name or
who they were working for or the company name, because doing so might have
risked them breaking off the communication and disappearing. Of all the freaking
junk Plaintiff has gone through with telemarketers, never, not one time, has a
telemarketer given their true identity (to their legally registered business in the
US) to Plaintiff. One time, a few years ago, a telemarketer did give Plaintiff their
business name and phone number and website and agents name and supervisor
name and was actually passed on to the supervisor who took Plaintiffs call. They
answered all of Plaintiffs questions without any hesitation. They were an web
hosting / promotion company in South America.

6.8 Plaintiff is informed and believes and therefore alleges that texts that
Defendant placed to him were made using an automatic telephone dialing
system.

6.9 Plaintiff, searching on the Texas Secretary of State’s website [and paying
their search fees], found Defendant to be registered as a domestic LLC. In the
State of Texas.

6.10 Plaintiff searched Defendant on Pacer [and also paid their fees to search and
look at pleadings] and did not find other complaints against the Defendant for
violations of the TCPA.

6.11 Plaintiff, at no time, gave Defendant his “express consent” to be contacted
by text messages.

6.12 Part of Plaintiffs discovery will will be finding out if Defendant has a
company wide pattern or practice of engaging in the alleged illegal practices at

 
Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 11of23 PagelD 15

issue in my case. Plaintiff is proffering that a number of similar incidents have
occurred around the country to other everyday people.

6.13 In this alleged action, it is the Plaintiffs belief the Defendant uses short
codes to run his telemarketing campaign to text people from a phone number and
if they don’t respond he (they) is back at it contacting the same people who did
not respond with a new number. xxx

6.14 The text placed by the Defendant was not necessitated by an emergency.

6.15 Defendants calls were transmitted to Plaintiffs cellular telephone, and within
the time frame relevant to this action.

6.16 Defendant and/or their agents failed to properly identify themselves as
required by the TCPA.

6.17 Plaintiff is not a customer of Defendant and has not provided defendant with
his personal information or telephone number, or sought out solicitation from the
Defendant or their agents. xxx

6.18 It is Defendants burden to prove they has “express consent” per the TCPA to
call the Plaintiff on his cell phone using an “automatic telephone dialing system.”

6.19 At no time did Plaintiff provide prior express written consent, or even prior
permission, for the Defendant or their agents to call the Plaintiff.

6.20 Plaintiff does not have and has never had an established business
relationship with the Defendant.

6.21 The text received by the Plaintiff from the Defendant or their agent was for
the purpose of encouraging the purchase of rental of, or investment in, property,
goods, or services. The call therefor qualifies as telemarketing.
Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 12 of 23 PagelD 16

6.22 Plaintiff is the subscriber of phone number ending in 7677 and is financially
responsible for phone service to said number.

6.23 Plaintiff's phone number ending in 7677 is primarily used for personal,
family, and household use.

6.24 Upon information and belief, Defendants calls harmed the Plaintiff by
causing the the very harm that Congress sought prevent - that is the “nuisance
and invasion of privacy” and a Plaintiff suffered a concrete and particularized
harm.

6.25 Upon information and belief, Defendants texts harmed Plaintiff by intruding
upon Plaintiffs seclusion, lost time attending to unwanted and unauthorized calls,
decreased phone battery life, need for more frequent re-charging of the battery,
annoyance, and frustration.

6.26 As a result of Defendant illegal conduct, Plaintiff is entitled to $500 in
damages for each such violation of the TCPA. This is for each and every violation,
whether Defendant committee multiple violations with a single text. The number
of texts are irrelevant.

7.0 STANDING

7.01 Standing is proper under Article IIl of the Constitution of the United States of
America because Plaintiff's claims state: (a) a valid injury in fact; (b) which is
traceable to the conduct of Defendant; and (c) is likely to be redressed by a
favorable judicial decision.

7.02 Plaintiff's injury in fact must be both “concrete” and “particularized” in order
to satisfy the requirements of Article III of the Constitution.

 
Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 13 of 23 PagelD 17

7.03 For an injury to be “concrete” it must be a de facto injury, meaning that it
actually exists. In Plaintiffs case, Defendant sent a text messages to Plaintiff's
cellular telephone, using an ATDS. Such text messages are a nuisance, an
invasion of privacy, and an expense to Plaintiff. All three of these injuries are
concrete and de facto.

7.04 For an injury to be “particularized” means that the injury must “affect the
Plaintiff in a personal and individual way.” In Plaintiffs case, Defendant invaded
Plaintiffs privacy and peace by texting his cellular telephone, and did this with the
use of an ATDS. Furthermore, Plaintiff was distracted and annoyed by having to
take time, opening and reading the text message. All of these injuries are
particularized and specific to Plaintiff.

7.05 Plaintiffs case passes The “ Traceable to the Conduct of Defendant” Prong.

7.06 The second prong to establish standing at the pleadings phase is that
Plaintiff must allege facts to show that its injuries are traceable to the conduct of
Defendant. The above text message was directly and explicitly linked to
Defendant. The number from which the text was sent belongs to Defendant. This
text message is the sole source of Plaintiff's and the Class’s injuries. Therefore,
Plaintiff has illustrated facts that show that her injuries are traceable to the
conduct of Defendant.

7.07 Plaintiffs case passes the “ Injury is Likely to be Redressed by a Favorable
Judicial Opinion” Prong,

7.08 The third prong to establish standing at the pleadings phase requires
Plaintiff to allege facts to show that the injury is likely to be redressed by a
favorable judicial opinion In the present case, Plaintiff's Conclusion include a
request for damages for each text message made by Defendant, as authorized by
statute in 47 USC. Section 227. The statutory damages were set by Congress and
specifically redress the financial damages suffered by Plaintiff.
Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 14 of 23 PagelD 18

7.09 Plaintiff, under his 14 Amendment rights, has right to bring this action to be
heard in front of a jury.

7.10 Because all standing requirements of Article Ill of the US Constitution have
been met, Plaintiff has standing to sue Defendant on the stated claims.

COUNT 1

8.01 Plaintiff re-alleges and incorporates the above paragraphs.

8.02 Defendant violated 47 USC Section 227(b)(1)(A)(iii) by placing (non
emergency) solicitation texts to the Plaintiff.

8.03 Defendant must pay Plaintiff $500 for each text placed to Plaintiff.

OUNT 2

9.01 Plaintiff re-alleges and incorporates the above paragraphs.
9.02 Defendant transmitted four solicitation texts to Plaintiffs cellular phone
number, which was registered on the Do Not Call registry, violating 47 CFR

Section 64.1200(c).

9.03 Defendant must pay Plaintiff $500 for each text placed to Plaintiff.

COUNT 3

10.01 Plaintiff re-alleges and incorporates the above paragraphs.

10.02Defendant knew or should have know that Plaintiff had not given express
consent to receive its texts messages violating USC Section 227(b)(3)(C).

10.03 Defendant must pay Plaintiff $500.
 

Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 15of23 PagelD 19

COUNT 4

11.01 Plaintiff re-alleges and incorporates the above paragraphs.

11.02 Defendant transmitted a text to the Plaintiff, despite the fact that Plaintiffs
phone number is listed on the DNC list, a violation of USC Section 227(c).

11.03Defendant must pay Plaintiff $500.

COUNT 5

12.01 Plaintiff re-alleges and incorporates the above paragraphs.

12.02 Defendant transmitted more than one text to the Plaintiff (four), a violation
of USC Section 227(c)(5)(B).

12.03 Defendant must pay Plaintiff $500 for each text placed to the Plaintiff.

COUNT 6

13.01 Plaintiff re-alleges and incorporates the above paragraphs.
13.02Defendant spoofed their caller id. The phone numbers on displayed on
Plaintiffs caller id were long codes. Plaintiff cannot call Defendants long code and

speak to someone. A violation of 47 CFR Section 64.1601(4)(e).

13.03Defendant failed to provide a call back number in the initial text message.
A violation of 47 CFR Section 64.1200(b)(2).

13.04Defendant must pay Plaintiff $500.

COUNT 7

14.01 Plaintiff re-alleges and incorporates the above paragraphs.
Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 16 of 23 PagelD 20

14.02Defendant made calls to Plaintiffs phone ending in 7677 intentionally or
knowingly and the calls were not accidental.

14.03Pursuant to TBCC Section 305.053, Plaintiff sues here for monetary
damages.

140.4Pursuant USC Section 227(c)(5) and 47 CFR Section 64.1200(a)(2), treble
the $500 statutory damages to be recoverable by Plaintiff against the Defendant
to $1500 for each transmitted text Defendant placed and for violating the the
DNC request.

14.05Defendant must pay Plaintiff $1500 for each violation and text transmitted
to Plaintiff.

COUNT 8

15.01 Plaintiff re-alleges and incorporates the above paragraphs.

15.02Pursuant to 47 USC Section 227(b)(3)(A) and TBCC Section 305.053, the
court following the trial of this action should issue an order permanently enjoining
Defendant and its agents from engaging in any further conduct with respect to
Plaintiff which violates the rules and regulations of 47 USC Section 227.

COUNT 9

16.01 Plaintiff re-alleges and incorporates the above paragraphs.

16.02 Defendant intentionally intruded on Plaintiffs solitude, seclusion, and private
affairs by transmitting unwanted telemarketing calls to his cellular phone.
Defendants intrusion would be highly offensive to a reasonable person.

16.03The repeated autodialed calls to Plaintiffs cellular phone have caused him
emotional harm and distress, frustration, aggravation, wasted time, a nuisance

and other losses.

 
Case 3:21-cv-00805-K-BT Document 3 Filed 04/07/21 Page 17 of 23 PagelD 21

16.04 Plaintiff seeks to recover actual damages, including his damages for mental
anguish, to be proven at trial. Mental anguish is one of the torts for which Plaintiff
can recover mental-anguish damages without proving physical injury.

TRIAL BY JURY
17.01Plaintiff demands a trial by jury under the 7'* Amendment of the US

Constitution.

CONCLUSION

Plaintiff has read Dondi Properties Corp. v. Commerce Savs. & Loan Ass’n which
pretty much establishes the conduct for attorneys and references abusive
litigation tactics from attorneys conduct. Plaintiff believes if Defendant would
read Dondi and instruct their attorney to send copies of the filings and emails
between the Plaintiff and Defendants attorney, this would keep the Defendants
attorney from “poking a stick at Plaintiffs ribs” just to upset him and try to prolong
the hours he will be charging his client.

Plaintiff requests a copy of Defendants Do-Not-Call Policy to be sent to Plaintiffs
address below.

Plaintiff requests everything he has asked for in his Complaint and other relief as
the Court deems necessary.

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Joe HGfisinger - Pro se

7216 CF Hawn Frwy.
Dallas, Texas 75217
214-682-7677
joe75217@gmail.com

 
Case 3:21-cv-00805-K-BT_ Document 3_ Filed 04/07/21 Page 18 of 23 PagelD 22
Qe 05-102 Texas Franchise Tax Public Information Report

To be filed by Corporations, Limited Liability Companies (LLC), Limited Partnerships (LP),
Professional Associations (PA) and Financial Institutions
mw Tcode 13196 Franchise
@ Taxpayer number

@ Report year You have certain rights under Chapter 552 and 559,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Taxpayer nen W STREETS LLC a O Blacken circle if the mailing address has changed.
Mailing address Secretary of State (SOS) file number or
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City State ZIP code plus 4
WYLIE TX 75098 0802067276

 

 

 

Principal office

111 HUNTERS GLEN DR, WYLIE, TX, 75098 6235

 

Principal place of business

 

111 HUNTERS GLEN DR, WYLIE, TX, 75098 6235

 

 

You must report officer, director, member, general partner and manager information as of the date you complete this report.

Please siga below/ This report must be signed to satisfy franchise tax requirements.

 

SECTION A Name, title and mailing address of each officer, director, member, general partner or manager.

 

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O Blacken circle if there are currently no changes from previous year; if no information is displayed, complete the applicable information in Sections A, B and C.

       

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Title Director mm ddiy ey
JAMIE LEANN WOOLEY MEMBER @ ves | tem
expiration
Mailing address City State ZIP Code
111 HUNTERS GLEN WYLIE 75
Name Title Director mmddyy
O YES Term
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SECTION B_ Enter information for each corporation, LLC, LP, PA or financial institution, if any, in which this entity owns an Interest of 10 percent or more.

 

Name of owned (subsidiary) corporation, LLC, LP, PA or financial institution

State of formation

Texas SOS file number, if any

Percentage of ownership

 

Name of owned (subsidiary) corporation, LLC, LP, PA or financial institution

State of formation

Texas SOS file number, if any

Percentage of ownership

 

SECTION C Enter information for each corporation , LLC, LP, PA or financial Institution, if any, that owns an Interest of 10 percent or more in this entity.

 

Name of owned (parent) corporation, LLC, LP, PA or financial institution

State of formation

 

Texas SOS file number, if any

 

 

Percentage of ownership

 

 

Registered agent and registered office currently on file (see instructions if you need to make changes)

Agent: JAMIE LEANN WOOLEY

You must make a filing with the Secretary

agent, registered office or general partner information.

of State to change registered

 

Office: 111 HUNTERS GLEN

City

 

State

WYLIE

 

TX

2 CofEOg8

 

 

The information on this form is required by Section 171.203 of the Tax Code for each corporation, LLC, LP, PA or financial institution that files a Texas Franchise Tax Report. Use additional
sheets for Sections A, B and C, if necessary. The information will be available for public inspection.

 

LLC, LP, PA or financial institution.

| declare that the information in this document and any attachments is true and correct to the best of my knowledge and belief, as of the date below, and that a copy of this report has
been mailed to each person named in this report who is an officer, director, member, general partner or manager and who is not currently employed by this or a related corporation,

 

sign
ae

 

BARRY PIERCE

Title

 

CPA

Date

 

09/11/2020

Area code and phone number

(972) 932-9086

 

Texas Comptroller Official Use Only

 

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Friday, Apr 24 » 8:28 AM

Investment property

- Dallas, TX 75217.

Have any investors > te
that would be Ve
interested? Pictures

and video attached

- https://conta.cc

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Tap to load preview

Apr 24, 8:28 AM

Tuesday, May 5 « 6:00 PM

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"Tuesday, May 5 5 - 6:00 PM

 

New Price - Dallas,
TX, 75217 - $110K
OBO. Reply "7306"
if you are interested 30
beforewesendtothe , ,% 40

rest of our list. See eh

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er papers a! eld 26 by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS
JOE HUNSINGER

(b) County of Residence of First Listed Plaintiff DALLAS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

PRO-SE

DEFENDANTS

NOTE:
THE TRACT

Attorneys (If Known)

 

W STREETS LLC.

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)
IN LAND CONDEMNATION GASES; USE THE LOCATION OF

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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

[-]1 U.S. Government
Plaintiff

[-]2 U.S. Government
Defendant

[*]3 Federal Question
(U.S. Government Not a Party)

(_]4_ Diversity
(Indicate Citizenship of Parties in Item III)

 

(For Diversity Cases Only)

 

 

 

III. CITIZENSHIP OF PRINCIPAL PARTIES 2 (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State [%] 1 [3] 1 Incorporated or Principal Place [] 4 [x]4
of Business In This State
Citizen of Another State [12 [] 2 Incorporated and Principal Place [_]5 (]5
of Business In Another State
Citizen or Subject of a O 3. ([] 3. Foreign Nation Cle (Ce

Foreign Country

 

 

IV. NATURE OF SUIT (Place an “X”" in One Box Only)

 

| __ CONTRACT __TORTS _ 2) fo :
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 ial 28 USC 158
120 Marine 310 Airplane ‘Bi 365 Personal Injury - of Property 21 USC 881 423 Withdrawal
130 Miller Act 315 Airplane Product Product Liability | 1690 Other 28 USC 157
140 Negotiable Instrument Liability ([] 367 Health Care/
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical
& Enforcement of Judgment Slander Personal Injury 820 Copyrights
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent
152 Recovery of Defaulted Liability O 368 Asbestos Personal 835 Patent - Abbreviated
Student Loans 340 Marine Injury Product New Drug Application
(Excludes Veterans) 345 Marine Product Liability 840 Trademark
[_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR ] 880 Defend Trade Secrets
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016
[_] 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act
[_] 190 Other Contract Product Liability {_] 380 Other Personal 1 720 Labor/Management SOCIAL SECURITY
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff)
196 Franchise Injury oO 385 Property Damage 862 Black Lung (923)

362 Personal Injury -
Medical Malpractice

 

(TREAT PROPERTY

 

Product Liability

 

 

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
[_]290 All Other Real Property

 

 

:

440 Other Civil Rights

441 Voting

442 Employment

443 Housing/
Accommodations

445 Amer. w/Disabilities -
Employment

446 Amer. w/Disabilities -
Other

448 Education

Habeas Corpus:
463 Alien Detainee
510 Motions to Vacate
Sentence

T | 530 General

|] 535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

 

  
 
      
   

  

 

 

740 Railway Labor Act
751 Family and Medical
Leave Act

Ss) se Other Labor Litigation

791 Employee Retirement
Income Security Act

 

  

863 DIWC/DIWW (405(g))
864 SSID Title XVI

LT]

865 RSI (405(g))

 

 

 

870 Taxes (U.S. Plaintiff

 

462 Naturalization Application
465 Other Immigration
Actions

 

 

 

375 False Claims Act
376 Qui Tam (31 USC

3729(a))

400 State Reapportionment
410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and

Corrupt Organizations

|] 480 Consumer Credit

(15 USC 1681 or 1692)

[=] 485 Telephone Consumer

Protection Act

490 Cable/Sat TV
850 Securities/Commodities/

Exchange

890 Other Statutory Actions
891 Agricultural Acts

893 Environmental Matters
EK 895 Freedom of Information

Act
or Defendant) 896 Arbitration
| 871 IRS—Third Party 899 Administrative Procedure
26 USC 7609 Act/Review or Appeal of

Agency Decision

| 950 Constitutionality of

State Statutes

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original
+ Proceeding

VI. CAUSE OF ACTION

VII. REQUESTED IN
COMPLAINT:

2 Removed from 3
State Court

 

([] CHECK IF THIS

Remanded from
Appellate Court

IS A CLASS ACTION

UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S)

4 Reinstated or 5 Transferred from
O O Another District

(specify)
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

28 USC SECTION 1331 AND 47 USC SECTION 227

Brief description of cause:

VIOLATIONS OF THE TCPA

Reopened

DEMAND $

6 Miultidistrict
Litigation -
Transfer

‘a 8 Multidistrict
Litigation -
Direct File

CHECK YES only if demanded in complaint:

JURY DEMAND:

 

[*] Yes oO No

 

 

See instructi é
IF ANY (Bee instruction): Ge DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
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FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
